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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, : Hon. Joseph A. Greenaway, Jr.
¥. : Criminal No. 03-CR-799

FAROOQ MALIK
FINAL ORDER OF FORFEFTURE

WHEREAS a Consent Judgment and Preliminary Order of Forfeiture between the
United States and the defendant, Farooq Malik, was entered into on April 5, 2004, pursuant to
the terms of a plea agreement under which defendant Faroog Malik, pursuant to 18 U.S.C. 982,
agreed to the forfeiture of $27,000.00 in United States currency for violations of 18 U.S.C. §
1960; and

WHEREAS, on July 20, 2005, August 4, 2005 and August 11, 2005, the United States
published in the “Star Ledger” a notice to dispose of the property in accordance with the law and
further notifying all third parties of their right to petition the Court within thirty (30) days for a
hearing to adjudicate the validity of their alleged legal interest in the property (Declaration of
Marion Percell, filed herein as Exhibit A); and

WHEREAS no claims have been filed on the property by any third parties;

THEREFORE it is hereby ORDERED, ADJUDGED, AND DECREED:

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1. That a Final Order of Forfeiture is entered and that $27,000.00 in United States
currency is forfeited to the United States of America, and no right, title, or interest in the assets
shall exist in any other party.

2. That any and all forfeited funds, including but not limited to currency, currency
equivalents and certificates of deposits, as well as any income derived as a result of the United
States Customs and Border Protection Service’s management of any properties forfeited herein,
and the proceeds from the sale of any forfeited properties, after the payment of costs and
expenses incurred in connection with the sale and disposition of the forfeited properties, shall be
deposited forthwith by the United States Customs and Border Protection Service into the
Department of Treasury Asset Forfeiture Fund, in accordance with the law.

The Clerk is hereby directed to send copies to all counsel of record.

In A-H Z,

NORABLESOSEPHA. REEMA WAY, IR.
United States District Judge

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